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                               UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

      UNITED STATES OF AMERICA,

             Plaintiff,


                     v.                              Case No. 8:06-cr-464-T-17TGW

      TULANI JAMES COOPER,
          a/k/a "T London,"
      ROBERT LEE WILLIAMS,
          a/k/a "Rob 1,"
      TRINIDAD MARQUEZ HAMILTON,
           a/k/a "Dozier,"
      MAURICE LASHANE HAMILTON,
           a/k/a "Mo Bentley,"
      ARNELL DEVON ELROD,
           a/k/a "Nellie,"
      TERRY LYNN EADY,
           a/k/a "Edo,"
      ANTHONY LEON WARRICK,
           a/k/a "Ace,"
      JARVIS L. McCANTS,
           a/k/a "Lil Will,"
      JERMAINE LENARD MOSS,
      CHANCEY DEON COOPER,
             a/k/a "Black,"
             a/k/a "Chauncy,"

             Defendants.


                              FINAL JUDGMENT OF FORFEITURE


             THIS CAUSE comes before the Court upon the filing of the Motion by the

       United States for a Final Judgment of Forfeiture for the following property:

                     a.       $3,960.00 in United States currency;

                      b.      $13,000.00 in United States currency;

                      c.      $500.00 in United States currency;
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                    d.     $16.00 in United States currency;

                    e.      a Bryco Arms, Model 38, .380 caliber pistol, serial number
                           100279;


                    f.     a Glock GMBH, Model 21, .45 caliber pistol, serial number
                           AEX391US;

                    g.     a Hi-Point, Model JHP45, .45 caliber pistol, serial number
                           X427782;

                    h.     a Smith & Wesson. Model 27, .357 caliber revolver, serial
                           number N793368;

                    i.     a Winchester, Model 1300, 12 gauge shotgun, serial number
                           L3206704;


                    j.     a Savage, Model 311,12 gauge double-barreled shotgun,
                           serial number A330280;

                    k.     a Harrington and Richardson, Model 88,12 gauge short-
                           barreled shotgun, serial number AU407296; and

                    I.     a Glenfield, Model 25, .22 caliber rifle, serial number
                           22703726.

             1.     On September 14, 2007, the Court granted the United States'

      motion and entered the Preliminary Order of Forfeiture (Doc. 310), forfeiting to

      the United States of America all right, title, and interest of defendants Tulani

      Cooper, Robert Williams, Trinidad Hamilton, Maurice Hamilton, Arnell Elrod,

      Terry Eady, Anthony Warrick, Jarvis McCants, Jermaine Moss, and Chancey

      Cooper in the property listed above.

             2.     The only person known to have any potential interest in the subject

      United States currency is James Jerome Hamilton. The United States sent, via
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      certified U.S. mail, Notice of Forfeiture, Acknowledgments of Receipt of Notice of

      Forfeiture, and a copy of the Preliminary Order of Forfeiture in the instant case to

      the person listed above.


             3.     On August 8, 2008, the United States received a signed return

      receipt from the James Jerome Hamilton. No claim was filed.

             4.     In accordance with the provisions of 21 U.S.C. § 853(n), the United

      States published notice of the forfeiture, and of its intent to dispose of the

      properties, in the Tampa Tribune, a newspaper of general circulation in

      Hillsborough County, Florida on August 11, 2008, August 18, 2008 and August


      25, 2008 and in the Sarasota Herald-Tribune, a newspaper of general circulation

      in Manatee County, Florida on August 13, 2008, August 19, 2008, and August

      26, 2008. (Docs. 495 and 498). The publication gave notice to all third parties

      with a legal interest in the subject property to file with the Office of

      the Clerk, United States District Court, Middle District of Florida, Sam Gibbons

      Federal Courthouse, 2nd Floor, 801 North Florida Avenue, Tampa, Florida 33602,

      a petition to adjudicate their interest within 30 days of the final date of publication.

             5.     No persons or entities, other than the defendants Tulani Cooper,

      Robert Williams, Trinidad Hamilton, Maurice Hamilton, Arnell Elrod, Terry Eady,

      Anthony Warrick, Jarvis McCants, Jermaine Moss, and Chancey Cooper, whose

      interests were forfeited to the United States in the Preliminary Order of Forfeiture,

      are known to have an interest in the subject property. To date, no third party,
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      has filed a Petition to Ownership Interest in the subject properties to date, and

      the time for filing such Petition has expired.

             6.     The Court finds that the subject properties are the property of

      defendants Tulani Cooper, Robert Williams, Trinidad Hamilton, Maurice

      Hamilton, Arnell Elrod, Terry Eady, Anthony Warrick, Jarvis McCants, Jermaine

      Moss, and Chancey Cooper.


             Accordingly, it is hereby

             ORDERED, ADJUDGED and DECREED that the United States' motion is

      GRANTED. It is FURTHER ORDERED that all right, title and interest in the

      following property is CONDEMNED and FORFEITED to the United States of

      America, pursuant to the provisions of Fed. R. Crim. P. 32.2(c)(2) and 21 U.S.C.

      § 853(a)(1) and (2), for disposition according to law:

                    a.      $3,960.00 in United States currency;

                    b.      $13,000.00 in United States currency;


                    c.      $500.00 in United States currency;

                    d.      $16.00 in United States currency;

                    e.      a Bryco Arms, Model 38, .380 caliber pistol, serial number
                            100279;

                    f.      a Glock GMBH, Model 21, .45 caliber pistol, serial number
                            AEX391US;

                     g.     a Hi-Point, Model JHP45, .45 caliber pistol, serial number
                            X427782;
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                    h.     a Smith & Wesson. Model 27, .357 caliber revolver, serial
                           number N793368;

                    i.     a Winchester, Model 1300, 12 gauge shotgun, serial number
                           L3206704;

                    j.     a Savage, Model 311,12 gauge double-barreled shotgun,
                           serial number A330280;

                    k.     a Harrington and Richardson, Model 88, 12 gauge short-
                           barreled shotgun, serial number AU407296; and

                    I.         a Glenfield, Model 25, .22 caliber rifle, serial number
                               22703726.

             Clear title to the property is now vested in the United States of America.

             DONE and ORDERED in Chambers in Tampa, Florida, this                 5~     day
                         >^_      . 2008.




                                                    ELIZABEfld^KOVACHEVICH
                                                    UNITED STATESTJTSTFHCX JUDGE



       Copies to:    Anita M. Cream, AUSA
                     Attorney's of Record
